Case 1:22-cr-00106-LDH Document 54 Filed 06/15/22 Page **FILED**
                                                       1 of 13 PageID #: 197
                                                   6/15/2022       June 15, 2022
                                                                 U.S. DISTRICT COURT
SK:TBM/CWB
                                                           EASTERN DISTRICT OF NEW YORK
F. #2021 RO l 073/NY-NYE-0913

UNITED STATES DISTRICT COURT                          1:22-cr-00106(LDH)(RML)
EASTERN DlSTRlCT OF NEW YORK
----- -- -------- --- ---------X

UNITED STATES OF AMERICA                               SUPERSE DI NG
                                                       JNDICTMENT
       - against -
                                                       Cr. No. 22-106 (S-1) (LDH)
MARCU S RICKETTS,                                      (T. 18, U.S .C., §§ 924(c)(l)(A)(i),
     also known as "Darnell Dogan,"                     924(c)(l)(A)(ii), 924(c)(l )(A)(iii),
     "Conroy Cornelius" and "Blaise,"                   924(d)(l), 9240)(1), 981(a)(l)(C),
MARK GO ULBOURNE,                                       1512(c)(l), 1512(c)(2), J951(a), 3, 2 and
     also known as "Short Man,"                         3551 et~.; T. 21 , U .S.C., §§ 84l(a)( l ),
JUV ANIE CROSSGILL,                                     84l(b)(l)(B)(vii), 841(b)(l)(C),
     also known as "Geo,"                               841 (b)(l)(D), 846, 853(a) and 853(p)~T.
JONATHAN GOULBOURNE,                                    28, U.S.C. , § 2461 (c))
    also known as " Bobcat,"
ROMEO JONAS,
    also known as "Tee,"
AMARI WEBBER,
    also known as "Smooth," and
CHEVONNE WILLIAMS,
    also      . as "Chevy,"

                        Defendants.

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THE GRAND JURY CHARGES:

                                       COUNT ONE
                               (Hobbs Act Robbery Conspiracy)

               1.    In or about and between July 2020 and December 2021, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants MARCUS RlCK.ETTS, also known as " Darnell Dogan," "Comoy Cornelius" and

"Blaise," MARK GOULBOURNE, also known as "Short Man," J ONATHAN GOULBOURNE,

also known as "Bobcat," ROMEO JONAS, also known as "Tee," AMARJ WEBBER, also
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                                                                                                  2


known as "Smooth," and CHEVONNE WILLIAMS, also known as "Chevy." together with

others, did knowingly and intentionally conspire to obstruct, delay and affect commerce, and the

movement of aiticles and commodities in commerce, by the robbery of one or more employees

of marijuana-trafficking businesses.

               (Title 18, United States Code, Sections 195l(a) and 3551 et seq.)

                                        COUNT TWO
           (Conspiracy to Distribute and Possess with Intent to Distribute Marijuana)

               2.      In or about and between July 2020 and December 2021, both dates being

approximate and inclusive, within the Eastern District ofNew York and elsewhere, the

defendants MARCUS RICKETTS. also known as "Darnell Dogai1," "Conroy Cornelius" and

"Blaise," MARK GOULBOURNE, also known as "Short Man," JONATHAN GOULBOURNE,

also known as "Bobcat," ROMEO JONAS, also known as "Tee," AMARJ WEBBER, also

known as "Smooth," and CHEVONNE WILLIAMS, also known as "Chevy.'' together with

others, did knowingly and intentionally conspire to distribute and possess with intent to distribute

a controlled substance, which offense involved a substance containing marijuana, a Schedule I

controlled substance, contrary to Title 21, United States Code, Section 841(a)(l). The amount

of marijuana involved in the conspiracy attributable to each defendant as a result of his own

conduct, and the conduct of other conspirators reasonably foreseeable to him, was 100 kilogran1s

or more of a substance containing marijuana.

               (Title 21, United States Code, Sections 846 and 84l(b)(l)(B)(vii); Title 18,

United States Code, Sections 3551 et seq.)
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                                                                                                    3

                                        co
                                      (Hobbs

               3.       On or about Jul y 6 2020 within the Eastern District of ew York and

elsewhere, the defendants MARCU RICKETTS, also known as 'Darnell Dogan " ' Conroy

Cornelius" and '·Blai   e:· and JO ATHA GO LBO               , al o known as Bobcat " together

with others, did knowingly and intentionally obstruct, delay and affect commerce, and the

movement of articles and commodities in commerce, by robbery , to wit: the robbery of one or

more emplo e s of a marijuana-trafficking busin ss in the Bronx,      w York.

               (Title 18, United States Code Sections 195l(a), 2 and 3551 et seq.)

                                         COU TFOUR
                         (Posse sion with Intent to Distribute Marijuana)

               4.       On or about July 6 2020, within the outhem District of ew York the

defi ndant MARC         RICKETTS, also known as 'Darnell Dogan,' 'Conroy Cornelius and

"Blaise,' and JO ATHA        GOULBOURNE al o known as "Bobcat,'' together with other did

 nowingly and intentionally posses with intent to distribute a controlled substance. which

offense involved a substance containing marijuana. a chedule I controlled ub ta.nee.

               (Title 21 United tates Code, Sections 841(a)(l) and 841(b)(l)(D)· Title 18

United States Cod , ections 2 and 3551 et seq.)

                                          CO    TFIVE
                             (Possessing and Brandishing a Firearm

               5.       On or about July 6, 2020 withjn the Eastern District of New York and

elsewhere, the defendants MARCUS RI KETT           also known as " Darnell Dogan, ' onroy

 ornelius and 'Bla.i e_'' and JO ATH         GOULBO RN , also known as Bobcat, together

with others did knowingly and intentionally use and carry one or more firearms dw-ing and in

relation to a crime of violence and drug trafficking crimes, to wit: the crimes charged in Counts
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                                                                                                4

Two, Three and Fom, and did knowingly and intentionally possess such fireanns in furtherance

of said crime of violence and drng trafficking crimes one or more of which firearms wa

brandi hed.

                (Title 18 Unit d tates Code, Section 924(c)(l)( )(i) 924(c)(l)(A)(ii) 2 and

3551 et seq.)

                                                 TSIX
                                        (Hobbs Act Robbery)

                6.      On or about October 16, 2021 , within the astern Di trict of ew York

and els where the defendants MARCU RICKETT , also known as ' Darnell Dogan ' " Conroy

Cornelius and ''Blaise     MARK GOULBO RNE, also known as' hort Man               JO ATHA

GOULBO               also known a    Bobcat    and ROMEO JO     S also known as "Tee, together

with others, did knowingly and int ntionally obstruct, d lay and affect commerce, and the

movement of articles and conunodities in commen.:e, by robb ry, to wit: the robbery of one or

more employees of a marijuana-trafficking bu ines in taten Island,     ew York.

                (Title 18 Unit d States Code, ections 195l(a) 2 and 3551 et seq.)

                                          co
                          (Po es ion with Intent to Distribute Marijuana)

                7.      On or about October 16 2021, within the Eastern District of ew York

and elsewhere, the defendants       ARCUS RICKETTS, also known a ' Darnell Dogan, ' Conroy

Corneliu      and 'Blaise," MARK GOULBOURNE, also known a            hart Man ' JO A TH

GOULBOURNE, also known as ' Bobcat," and ROMEO JONAS also known as "Tee "together

with oth r did knowingly and intentionally posse s with intent to distribute a controlled
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                                                                                                 5

sub tanc , which offen e involved a substance containing marijuana, a chedule I controlled

 ubstance.

                (Title 21, United tates ode Sections 841(a)(l) and 841(b)(l)(D · Title 18

    nited tates Code, ection 2 and 3551 et seq.)

                                        CO     TEIGHT
                              (Po es ing and Brandishing a Firearm)

                8.      On or about October 16 2021, within th Eastern District of ew York

and eJsewher     the defendants MARK GO LBOU             , aJso known as ' Short   an ' and

ROM OJO              also known as · T e' togeth r with others did knowing! and intentionally

u     and cany one or mor fir arms during and in relation to a crim of viol nee and drug

trafficking crime , to wit: th crimes charged in Counts Two     ix and even and did knowingly

and intentionall possess such firearms in furtherance of said crime of violence and drug

trafficking crime , one or more of which .firearms was brandi hed.

                ( itle 18   nit d tates   od , ections 924(c)(l)(A)(i), 924(c)(l)( )(ii) 2 and

3551 et seq.)

                                         CO    T IE
                                       (Hobbs Act Robbe1y)

                9.      On or about December 3 2021 within the Ea tern Di trict of ew York

and elsewhere, the defendant MARCU RICKETT              aJ o known as 'Darnell Dogan, 'Conro

    omelius and "Blaise,' MARK GOULBOUR E, also known as' Sho11 Man, JO ATH

GOULBOU          E, also known as 'Bobcat,' ROMEO JO A         also known as 'Tee "AMARI

WEBBER, al o known as" mooth "and CHEVO                E WILLIAM , also known as 'Chevy,'

togeth r with others, did knowingly and intentionally obstruct, delay and affect commerce and
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                                                                                                    6


the movement of articles and commodities in commerce, by robbery, to wit: the robbery of one

or more employees of a marijuana-trafficking business in Brooklyn      ew York.

               (Title 18. United States Code Sections 195 1(a) 2 and 3551 et seq.)

                                            co
                          (Possession with Intent to Distribute Marijuana)

               10.      On or about December 3, 2021 within the Eastern District of ew York

and elsewhere, th defendants MARC U RICKETTS also known as Darnell Dogan,'                  Conroy

 ornelius· and "Blaise ' MARK GOULBOURNE, also known as Short Man 'JO ATHA

GOULBOU              also known as ' Bobcat,' ROMEO JO A , also known as 'Tee; · AMARI

WEBB R, also known as · Smooth, ' and CHEVO               WILLIAM , also known as "Chevy '

tog ther with others did knowingly and intentionally possess with intent to distribute a

controlled substance, which offense involved 50 kilograms or more of a substance containing

marijuana a chedule I controlled sub tance .

               (Title 21 United tates      ode, ections 841(a)(I) and 841(b)(l)(C)· Title 18

 nited States Code      ections 2 and 3551 et seg.)

                                         CO    TELEVE
                        (Pos es ing, Brandishing and Discharging a Fi.rearm)

               11.      On or about December 3, 2021 within the Eastern District of ew York

and elsewhere the defendants MARCU RICKETTS also known as "Darnell Dogan, 'Comoy

 ornelius and ' Blaise " MARK GOULBOURNE also known as " hort                   an   and

JO ATHAN GOULBOURNE also known as "Bobcat," together with others, did knowingly

and intentionally use and carry one or more firearms during and in relation to a crime of violence

and drug trafficking crimes to wit: the crimes charged in Counts Two,        ine and Ten and clid
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                                                                                                     7

knowingly and intentionally po se s uch firearms in furtherance of aid cri m of violence and

drug trafficking crimes one or more of which firearms wa brandi hed and discharged.

               (Title 18, United States Code Sections 924(c)(l)(A)(i), 924(c)(l )( )(ii),

924(c)(l)(A)(iii), 2 and 3551 et~-)

                                      COUNT TWELVE
                            ( ausing Death Through U e of a Firearm)

                12.    On or about December 3, 2021 within the Eastern Di trict of ew York

and el ewhere, the defend ant       RC     RI KETT . also known as '·Darn 11 Dogan, · Conroy

 omeliu ' and ' Blais , 'and     ARK GO       BO       E al o known a ' hort       an ' together

with other , in the cour e of a violation of Title l 8, United tates   ode   ection 924(c) to wit:

the use of a firearm during and in relation to a crim of violence and drug trafficking crime , to

wit: th crimes charged in Counts Two        ine and Ten, did knowingly and intentionally cause th

death of a person through the us of a firearm , which killing is a murder a defined in Title 18,

United! tate Code, ection 1111 (a), in that RICKETT and MARK GOULBOURNE, together

with others v ith malice aforethought, did unlawfully kill and cause the killing of, John Doe, an

individual whose identity is known to the Grand Jury willfully deliberately. maliciously and

with prem ditation.

               (Title 18    nited tates Code, ections 9240)(1), 2 and 3551 et~-)

                                       CO     TTHIRTEE
                                     (Acee so1y After the Fact)

                13.    On or about Dec mber 3 2021, within the Eastern District of ew York

and elsewhere, the defendant JUV ANlE RO           GILL, al o known as 'G o ' together with

others, knowing that on or mor offen es against the       nited tate had been committed to wit:

the crimes charges in ounts Two, Ten and Eleven did knowingly and intentionally receive,
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relieve, comfort and assist one or more offenders, in order to hinder and prevent the offenders'

apprehension, trial and punishment.

                (Title 18, United States Code, Sections 3 and 3551 et seq.)

                                     COUNT FOURTEEN
                (Obstruction and Attempted Obstruction of an Official Proceeding)

                14.     On or about February I 0, 2022. within the Eastern District of New York

and elsewhere, the defendant JONATHAN GOULBOURNE, also known as "Bobcat," did

knowingly, intentionally and corruptly: (a) alter, destroy, mutilate and conceal one or more

records, documents and other objects. to wit: a cellular telephone with International Mobile

Equipment Identity number 354660119232414, and the files contained therein, and attempt to do

so, with the intent to impair such items' integrity and availability for use in an official

proceeding, to wit: a proceeding before a federal grand jw-y in the Eastern District of New York

relating to the commission and possible commission of one or more robbery, drug and firearms

offenses (the '·Grand Jury Investigation"); and (b) obstruct, influence and impede an official

proceeding, to wit: the Grand Jury Investigation, and attempt to do so.

               (Title 18, United States Code, Sections 1512(c)(l). 1512(c)(2) and 3551 et seq.)

                          CRJ MIN AL FORFEITURE ALLEGATION
                        AS TO COUNTS ONE, THREE, SIX AND NINE

                15.    The United States hereby gives notice to the defendants charged in C0tmts

One, Three, Six and Nine that, upon their conviction of any of such offenses, the government

will seek forfeiture in accordance with: (a) Title 18, United States Code, Section 981(a)(l)(C)

and Title 28, United States Code, Section 2461(c), which require any person convicted of such

offenses to forfeit any property, real or personal, constituting or derived from proceeds obtained

directly or indirectly as a result of such offenses; and (b) Title 18, United States Code, Section
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                                                                                                      9


924( d)( 1) and Title 28, United tate Code Section 2461 (c), which require the forfeiture of any

firearm or ammunition invol ved in or used in any violation of any other criminal law of the

 nited tate . including but not limit d to: (i) ix thousand five hundred     venty-eight dollar

and twenty-three cents ( 6 578.23) (ii) one .380 Walther semiautomatic pi. ol bearing serial

number S039632 (iii) one .40 caliber Beretta emiautomatic pistol with a defaced erial number

(iv) one .380 caliber Ruger semiautomatic pistol bearing serial number 372256324 and (v) one

.40 caliber ig au r emiautomatic pi tol with a defaced        rial number, all seized on or about

Dec mber 3 2021 in Brighton Beach Brooklyn, ew York.

                16.    If any of the above-described forfeitable property, as a result of any act or

omission of the d fend ants:

                       (a)     cannot be locat d upon the exerci e of due diligence;

                       (b)     ha been tr·ansferred or sold to, or deposited with a third party;

                       (c)     has been placed beyond the j w-isdiction of the court;

                       (d)     has been substantially dimini hed in value· or

                       (e)     has been commingled with other property which cannot be divided

without difficulty·

it is the intent of the United States, pursuant to Title 21 United tates Code    ection 853(p ), to

seek forfeiture of any other property of the defendants up to the value of the forfeitable property

descdbed in this forfeiture allegation.

                (Title 18 United States Code. ections 924(d)(l) and 981(a)(1)(C); Title 21

L'nited rates   ode Section 853(p)· Title 28, United States Code, Section 246l(c))
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                            CRIMINAL FORFEITURE ALLEGATION
                         AS TO COUNTS TWO, FOUR- SEVEN AND TEN

               17.       The United States hereby gives notice to the defendants charged in Counts

Two. Fom, Seven and Ten that, upon their conviction of any of such offenses. the government

will seek forfeiture in accordance with Title 21, United States Code, Section 853(a), which

requires any person convicted of such offenses to forfeit: (a) any property constituting, or

derived from, any proceeds obtained directly or indfrectly as the result of such offenses; and (b)

any property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of, such offenses, including but not limited to: (i) six thousand five hundred seventy-

eight dollars and twenty-three cents ($6,578.23), (ii) one .380 Walther semiautomatic pistol

beaJing serial number S039632, (iii) one .40 caliber Beretta semiautomatic pistol with a defaced

serial number. (iv) one .380 caliber Ruger semiautomatic pistol bearing serial number

372256324 and (v) one .40 caliber Sig Sauer semiautomatic pistol with a defaced serial number,

all seized on or about December 3, 2021 in Brighton Beach, Brooklyn, New York.

               18.       If any of the above-described forfeitable property, as a result of any act or

omission of the defendants:

                      (a) cannot be located upon the exercise of due diligence;

                      (b) has been transfen-ed or sold to, or deposited with, a third party;

                      (c) has been placed beyond the jurisdiction of the court;

                      (d) has been substantially diminished in value; or

                      (e) has been commingled with other property which cannot be divided

without difficulty:
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                                                                                                   11


it is the intent of the United tates, pursuant to Title 21 United tates Code Section 853(p) to

 eek forfeiture of any other property of the defendants up to the value of the forfeitable property

described in thi forfeiture allegation.

               (Title 21 United tates Code,      ctions 853(a) and 853(p))

                             CRIMINAL FORFEITURE ALLEGATIO
            AS TO CO         TS FIVE, EIGHT. LEVE , TWELVE AND TI IRTEE

                19.    The United tates hereby gives notice to the defendants charged in Counts

Five, Eight, Eleven Twelv and Thirteen that. upon their conviction of any of such offenses the

government wi ll seek forfeiture in accordance with Title 18, United tates Code, Section

924( d)( l) and Title 28 United tates Code     ection 2461 (c) which require the forfeitme of any

firearm or ammunition involved in or used in any knowing violation of Title 18 United tates

Code    ection 924, including but not limited to: (i) one .380 Walther semiautomatic pistol

bearing erial number 039632. (ii) one .40 caliber Beretta semiautomatic pistol with a defaced

 erial munber (iii) on .380 caliber Ruger semiautomatic pistol bearings rial number

3 72256324 and (i ) on .40 caliber Sig Sauer semiautomatic pistol with a defaced erial number

all seized on or about December 3 2021 in Brighton Beach Brooklyn, ew York.

               20.     If any of the above-described forfeitable property a a result of any act or

omission of th defendants:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with a third party;

                       (c)     has been placed b yond the jurisdiction of th court;

                       (d)     has been substantially diminished in value· or

                       (e)     has been commingled with other property which cannot be divided

without difficulty;
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                                                                                                  12

it is the intent of the   nited tate , pur uant to Title 21 United tates Code Section 853(p) to

seek forfeiture of any other prope1ty of the defendants up to the value of the forfeitable property

de cribed in thi forfeiture allegation.

                 (Title 18, United tate Cod , ection 924( d)(l); Title 21 United tates Code,

Section 853(p)· Title 28,     nited States Code, ection 246l(c))




                                                                      TR      BILL




                          TIO      y
                     RICT OF       WYORK
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F. #2021R 0 I073
FORM DBD-34            o. 22-cr-106 (S-1) (LDI-I)
JUN. 85


                            UNITED STATES DISTRICT COURT
                                        EASTERN District of NEW YORK

                                               CRJMINAL DIVISION

                                 THE UNITED STATES OF Al\1ERICA
                                                              vs.


                       MARCUS RJCKETTS, also known as "Darnell Dogan," "Conroy Cornelius" and
                         "B laise," MARK GOULBOUR E, also known as "Short Man," JUVANI
                      C ROSSGILL, also known as "Geo," JONATHAN GOULBOURNE, al so known as
                      "Bobcat,'" ROMEO .10 AS, also known as ·'Tee," AMARI WEBBER, also known
                           as ··Smooth," and CH EVONNE WILLIAMS, also known as "Chevy,"
                                                                                            Defendants.


                                   SUPERSEDING INDICTMENT
                      (T. 18, U.S.C., §§ 924(c)(l)(A)(i), 924(c)(l)(A)(ii), 924(c)(l)(A)(iii), 924(d)(l),
                      9240)(1), 98l(a)(l)(C), 1512(c)(l), 1512(c)(2), 1951(a), 3, 2 and 3551 !e!gg.; T.
                        2 1, U.S.C., §§ 84l(a)(l), 84l(b)(l)(B)(vii), 841(b)(l)(C), 841(b)(l)(D), 846,
                                         853(a) and 853(p); T. 28, U.S .C., § 2461 (c))


                          A lruebi/1.                                         ~              ~~

                                                                            ~-;~n

                      Filed in open court this _________ day. _____ of ____________ A. O. 20 ___ _


                                                                                                    Clerk



                        Tara McGrath & Chand Edwards-Balfour, Assistant U.S. Attorneys
